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 5
     Attorney for Defendant
 6   DONNA M. ROSENAU
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                     )
11                                                 )
                           Plaintiff,              )      Cr. No. S-10-210 WBS
12                                                 )
                                                   )      STIPULATION AND
13                                                 )      ORDER TO CONTINUE STATUS
                                                   )      CONFERENCE AND FINDING
14                                                 )      OF EXCLUDABLE TIME
     ROBERT E. ROSENAU and                         )
15   DONNA M. ROSENAU,                             )       Date: January 10, 2011
                                                   )       Time: 8:30 a.m.
16                         Defendants.             )       Judge: William B. Shubb
                                                   )
17
            The United States of America, through Assistant U.S. Attorney Camil A. Skipper, and
18
     defendant Robert E. Rosenau, through his counsel Jeffrey L. Staniels, and defendant Donna M.
19
     Rosenau, through her counsel Scott L. Tedmon, hereby stipulate and agree as follows:
20
            1. The current status conference in this case is set for Monday, January 10, 2011 at 8:30 a.m.
21
            2. The government has provided approximately 5,000 pages of discovery to defense counsel.
22
     Counsel for defendant Donna Rosenau has been in the complex three-month jury trial of U.S. v.
23
     Amaro, Mora, Killinger, and Stewart-Hanson which concluded the second week of December before
24
     your Honor. With the conclusion of the aforementioned jury trial, counsel for Donna Rosenau is
25
     continuing to review the volume of discovery in this case and needs necessary additional time to
26
     continue that process as well as identify legal issues and the discuss the matter with his client.
27
     Counsel for co-defendant Robert Rosenau understands and agrees regarding the need for necessary
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 1   additional time in order that counsel can properly prepare and concurs in this request. Likewise,
 2   counsel for the government understands and agrees to the defense request for the necessary
 3   additional time to prepare.
 4             3. As such, government and defense counsel stipulate it is appropriate to continue the current
 5   status conference to Monday, March 21, 2011 at 8:30 a.m. The Court’s availability for the March
 6   21, 2011 status conference date has been confirmed. No jury trial date has been set in this case.
 7             4. Accordingly, the parties stipulate the Court should find that time be excluded through
 8   March 21, 2011 under the Speedy Trial Act based on need of counsel to prepare pursuant to 18
 9   U.S.C. §3161(h)(7)(B)(iv), [Local Code T4], and that the ends of justice therefore outweigh the best
10   interest of the public in a speedy trial.
11             Finally, Scott L. Tedmon has been authorized by all counsel to sign this stipulation on their
12   behalf.
13   IT IS SO STIPULATED.
14   DATED: January 6, 2011                           BENJAMIN B. WAGNER
                                                      United States Attorney
15
                                                      /s/ Camil A. Skipper
16                                                    CAMIL A. SKIPPER
                                                      Assistant United States Attorney
17
18   DATED: January 6, 2011                           DANIEL J. BRODERICK
                                                      Federal Defender
19
                                                       /s/ Jeffrey L. Staniels
20                                                    JEFFREY L. STANIELS
                                                      Assistant Federal Defender
21                                                    Attorney for Defendant Robert E. Rosenau
22
     DATED: January 6, 2011                           LAW OFFICES OF SCOTT L. TEDMON
23
                                                      /s/ Scott L. Tedmon
24                                                    SCOTT L. TEDMON
                                                      Attorney for Donna M. Rosenau
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 1
                                                  ORDER
 2
            GOOD CAUSE APPEARING and based upon the above stipulation, the Court finds that
 3
     time be excluded under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(7)(B)(iv), [Local Code
 4
     T4], reasonable time necessary for effective counsel preparation, and that the ends of justice
 5
     therefore outweigh the best interest of the public in a speedy trial. Accordingly,
 6
            IT IS ORDERED that this matter is continued to Monday, March 21, 2011, at 8:30 a.m., for
 7
     further status conference.
 8
            IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161(h)(7)(B)(iv), [Local Code
 9
     T4], the period from January 10, 2011, to and including March 21, 2011, is excluded from the time
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     computations required by the Speedy Trial Act.
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12
            IT IS SO ORDERED.
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     DATED: January 7, 2011
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